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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

                                           §
 EUGENIO VARGAS,                           §
                                           §
        Plaintiff/Counterclaim Defendant, §           Civil Action No. 4:22-cv-430-Y
                                           §
 v.                                        §          Judge Terry R. Means
                                           §
 ASSOCIATION OF PROFESSIONAL               §
 FLIGHT ATTENDANTS, et al.,                §
                                           §
        Defendants/Counterclaim Plaintiff. §


                          APFA DEFENDANTS’ MOTION
               FOR LEAVE TO AMEND ANSWER AND COUNTERCLAIM

       Pursuant to Rule 15, Fed. R. Civ. P., and this Court’s Initial Scheduling Order (doc. 77),

Defendants the Association of Professional Flight Attendants (“APFA”), Julie Hedrick and Erik

Harris (herein, “the APFA Defendants”) hereby move to leave to amend their Answer and the

APFA’s Counterclaim. The proposed Amended Answer and Counterclaim is attached hereto as

Exhibit A.

       Counsel for APFA has conferred with counsel for Plaintiff, who states that Plaintiff

opposes this motion.

       The purpose of the proposed amendment is to reflect, in the Amended Answer, the facts

as currently understood regarding Plaintiff’s allegations; to update the affirmative defenses; and

to amend the counterclaims by withdrawing one cause of action (the contract claim under 29

U.S.C. § 185(a)), and refining the allegations of the remaining counterclaim (the fiduciary duty

claim under 29 U.S.C.§ 501). The gravamen of the fiduciary duty counterclaim remains the

same. The APFA Defendants respectfully submit that the proposed amendment will not cause




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any delay or undue prejudice to any party, and that the motion for leave to amend should

therefore be granted.

       Rule 15 provides that “The court should freely give leave [to amend] when justice so

requires.” Fed. R. Civ. P. 15(a)(2). As further articulated by the Fifth Circuit:

       “Whether leave to amend should be granted is entrusted to the sound discretion of
       the district court, and that court's ruling is reversible only for an abuse of
       discretion.” Heinze v. Tesco Corp., 971 F.3d 475, 485 (5th Cir. 2020) (quoting
       Pervasive Software Inc. v. Lexware GmbH, 688 F.3d 214, 232 (5th Cir. 2012)).
       But a district court may only deny leave “for a substantial reason, such as undue
       delay, repeated failures to cure deficiencies, undue prejudice, or futility.” Stevens
       v. St. Tammany Par. Gov't, 17 F.4th 563, 575 (5th Cir. 2021) (quoting U.S. ex rel.
       Spicer v. Westbrook, 751 F.3d 354, 367 (5th Cir. 2014)). Absent such factors,
       leave to amend should be “freely given.” Fed. R. Civ. P. 15(a).

Residents of Gordon Plaza, Inc. v. Cantrell, 25 F.4th 288, 302–03 (5th Cir. 2022), cert. denied,

143 S. Ct. 100 (2022).

       The APFA Defendants’ Proposed Amended Answer and Counterclaim readily meets this

standard. There is no delay, because the present motion is filed within the deadline established

by the Court in its Scheduling Order. There have been no prior failures to cure deficiencies in

the pleadings. Nor would amendment prejudice Plaintiff in any way -- the proposed amended

pleading would narrow the issues and streamline the litigation by removing one cause of action

while retaining another which has been present since the case began. Finally, amendment would

not be futile -- the remaining counterclaim for breach of fiduciary duty arises under Section 501

of the LMRDA, 29 U.S.C. § 501, and this Court has already rejected Plaintiff’s effort to dismiss

that counterclaim, see Order Partially Granting Motion to Dismiss Counterclaim (doc. 70 at 2-4).

       Accordingly, the APFA Defendants respectfully request that the Court grant their motion

for leave to amend their Answer and Counterclaim.




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Dated:                            Respectfully Submitted,


                                    /s/ James D. Sanford
                                  JAMES D. SANFORD
                                  Tex. Bar No. 24051289
                                  JOSEPH H. GILLESPIE
                                  Tex. Bar No. 24036636
                                  Gillespie Sanford LLP
                                  4803 Gaston Ave.
                                  Dallas, TX 75246
                                  Tel.: (214) 800-5111; Fax.: (214) 838-0001
                                  Email: jim@gillespiesanford.com
                                  Email: joe@gillespiesanford.com

                                  JEFFREY A. BARTOS (pro hac vice)
                                  D.C. Bar No. 435832
                                  Guerrieri, Bartos & Roma, PC
                                  1900 M Street, N.W. Suite 700
                                  Washington, DC 20036
                                  Tel.: (202) 624-7400; Fax: (202) 624-7420
                                  Email: jbartos@geclaw.com

                                  Counsel for Defendant and Counterclaim Plaintiff
                                  Association of Professional Flight Attendants, and
                                  Defendants Julie Hedrick and Erik Harris

                                  CHARLETTE L. MATTS (pro hac vice)
                                  Tex. Bar No. 24133870
                                  Association of Professional Flight Attendants
                                  1004 W. Euless Blvd.
                                  Euless, TX 76040
                                  Tel.: (682) 301-8454
                                  Email: Cmatts@apfa.org

                                  Counsel for Defendant and Counterclaim Plaintiff
                                  Association of Professional Flight Attendants




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                              CERTIFICATE OF CONFERENCE

       I certify that on August 30, 2023, counsel for the APFA Defendants conferred with Kerri

Phillips, counsel for Plaintiff, by email regarding this motion. Ms. Phillips stated that Plaintiff

opposes this motion.



                                                       /s/ Jeffrey A. Bartos_____
                                                       JEFFREY A. BARTOS



                                 CERTIFICATE OF SERVICE

       I certify that on Wednesday, August 30, 2023, I electronically submitted this document to

the clerk of the court for the U.S. District for the Northern District of Texas using the court’s

electronic case filing system. The electronic case filing system sent a “Notice of Electronic

Filing” to the following individuals, who have consented to accept this Notices as service of this

document by electronic means:

KERRI PHILLIPS
K.D. Phillips Law Firm, PLLC
6010 W. Spring Creek Parkway
Plano, TX 75024
Phone: (972) 327-5800
Fax: (940) 400-0089
Email: kerri@KDphillipslaw.com
       notice@KDphillipslaw.com

                                                              /s/ James D. Sanford
                                                              JAMES D. SANFORD




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